UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

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BAUS ter, Locke 35087 )
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)

(Enter above the NAME of the
plaintiff in this action.) )
v. )
tat Fir sf” Segrentens )

 

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. Q ey Depp

   
 

Ener stave the NAME of cach
defendant in this action.) )

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(42 U.S.C. Section 1983)

I PREVIOUS LAWSUITS

A. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to your imprisonment? YES( )NO(¢

B. If your answer to A is YES, describe the lawsuit in the space below. (If there is more
than one lawsuit, describe the additional lawsuits on another piece of paper, using the
same outline.)

1. Parties to the previous lawsuit:

Plaintiffs: ff 2

7
i
Defendants: / v /

 

 

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2. COURT: (If federal court, nah

   
 

e the district; if state court, * the county):

 

Be DOCKET NUMBE

 

 

Bs Disposition: (Fér example: Was the ¢ case Pd swiKaopeated? Is it still

pending?)
/

6. Approximéte date of filing woud

7. Approximate date of disposition:

 

Semel

PLACE OF PRESENT CONFINEMENT: (7) COX. Le hot Dece Lusi} weg / fe

A.

B.

Is there a prisoner grievance procedure in this institution? YES( )NO( )

Did you present the facts relating to your complaint in the prisoner grievance procedure?
YES( ) NO(47 | c

 

 

 

 

 

 

 

If your answer is YES, / | |
1. What steps did youjtake}
\ f /
i -
2. What was the regult? | —
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| /
If your answer “P NO, explain why not. /

/ f

 

/

If there is no pr ison grievance procedure in the /mstitution, did you complain to the
prison authorities? YES( ) NO(]) /
i f

 

If your answer is YES,

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1, What beeps did you take? U

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II.

2. What was the result?

 

 

PARTIES

(In item A below, please your name in the first blank and place your present address in the
second blank. Do the same for any additional plaintiffs.)

 

 
  

A. Name of plaintiff

Present address: 2

Peta cnt honte “address: Bo. X 2% £rewceh ZW F foil Cerag BA. F Ge

 

Address of nearest relative: Bey log ke hoy 2YO CRIG Go EF ea, eh 77 L272 3/
(in item B below, place the FULL NAME of the defendant in the first blank, his official
position in the second blank, and his place of employment in the third blank. Use item C for
the additional names, positions, and places of employment of any additional defendants.)
B. Defendant: pay Fepe ST cer grt Sravencigg Tt ACL
Ofticiai position: A Wery ey
Place of employment: _ A Abend» - Serv c e.

C. Additional defendants: 44.5 fre he Pree es of. we fog Per pen Fk bic

 

The 6.3: GALT ES eee

 

 

 

STATEMENT OF CLAIM

(State here as briefly as possible the FACTS of your case. Describe how EACH defendant is
involved. Include also the names of other persons involved, dates and places. DO NOT give

any legal arguments or cite any cases or statutes. If you intend to allege a number of related

claims, number and set forth each claim in a separate paragraph. Use as much space as you

need. Attach extra sheets, if necessary.)

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RELIEF

(State BRIEFLY exactly what you want this Court to do for you. Make NO legal arguments.
Cite NO cases or statutes.)

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anc riusS7 SJ e/menr Fer my Le roey hal Ce SZ
Pre. ond) re AeraT me ee Alletney e Ar/P
Pac en FG¢S peer ena Wl a ors aL Agew

here al Jes ome.

I (We) hereby certify under penalty of perjury that the above complaint is true to the best of
my (our) information, knowledge and belief.

fer Biss, 2 § day of /2.~ ey 20 2) ‘

 

 

Signed this @&

Signatur€f plaintiff(s)

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